        Case 1:14-cv-01996-BAH Document 179-2 Filed 06/15/20 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

________________________________________
                                         )
HULLEY ENTERPRISES LTD.,                 )
YUKOS UNIVERSAL LTD., AND                )                    Case No. 1:14-cv-01996-BAH
VETERAN PETROLEUM LTD.,                  )
                                         )
                        Petitioners,     )                    Chief Judge Beryl A. Howell
                                         )
                  v.                     )
                                         )
THE RUSSIAN FEDERATION,                  )
                                         )
                        Respondent.      )
________________________________________ )

                                      [PROPOSED] ORDER

       Upon consideration of the Russian Federation’s Motion to Extend this Court’s Stay of

Litigation, and any opposition and reply thereto, it is this _____ day of _________________,

2020, hereby

       ORDERED that the Russian Federation’s Motion is GRANTED, and further

       ORDERED that further proceedings in this action are hereby stayed pending the final

decision of the Dutch Supreme Court in Case No. 20/01595 resolving the set-aside proceedings

for the arbitral awards in this case, and further

       ORDERED that the parties shall provide the Court with reports on the status of the

Dutch Supreme Court proceedings every six months following this order, and further

       ORDERED that the parties shall inform the Court of the decision of the Dutch Supreme

Court within 14 days of the issuance of such decision and agree to a briefing schedule going

forward for resolution of the motions pending in this case.
       Case 1:14-cv-01996-BAH Document 179-2 Filed 06/15/20 Page 2 of 2




SO ORDERED

Date: _______________, 2020




                                          _____________________________
                                          BERYL A. HOWELL
                                          Chief Judge


Copies to:


Jacob Buchdahl (pro hac vice)           Carolyn B. Lamm (D.C. Bar No. 221325)
Steven M. Shepard (pro hac vice)        Nicolle Kownacki (D.C. Bar No. 1005627)
SUSMAN GODFREY L.L.P.                   David P. Riesenberg (D.C. Bar No. 1033269)
1301 Avenue of the Americas, 32nd Fl.   Eric Chung (D.C. Bar No. 1027439)
New York, New York 10019                WHITE & CASE L.L.P.
Phone: (212) 336-8330                   701 Thirteenth Street N.W.
jbuchdahl@susmangodfrey.com             Washington, D.C. 20005
sshepard@susmangodfrey.com              Phone: (202) 626-3600
                                        clamm@whitecase.com
Richard W. Hess (pro hac vice)          nkownacki@whitecase.com
SUSMAN GODFREY L.L.P.                   david.riesenberg@whitecase.com
1000 Louisiana Street                   eric.chung@whitecase.com
Suite 5100
Houston, TX 77002-5096                  Counsel for the Russian Federation
Phone: 713-653-7839
rhess@susmangodfrey.com

Counsel for Petitioners
